                                                                                Case 8:22-ml-03052-JVS-KES Document 345 Filed 04/05/24 Page 1 of 2 Page ID #:11544



                                                                                     1 Elliott R. Feldman (pro hac)
                                                                                       efeldman@cozen.com
                                                                                     2 COZEN O’CONNOR
                                                                                       One Liberty Place
                                                                                     3 1650 Market Street, Suite 2800
                                                                                       Philadelphia, PA 19103
                                                                                     4 Tel.: 215.665.2071; Fax: 215.701.2282
                                                                                     5 Kevin Caraher (pro hac)
                                                                                       kcaraher@cozen.com
                                                                                     6 COZEN O’CONNOR
                                                                                       123 North Wacker Drive, Suite 1800
                                                                                     7 Chicago, IL 60606
                                                                                       Tel.: 312.382.3192; Fax: 312.706.9792
                                                                                     8
                                                                                       Nathan Dooley (SBN 224331)
                                                                                     9 ndooley@cozen.com
                                                                                       Megan R. Peitzke (SBN 230375)
                                                                                    10 mpeitzke@cozen.com
                                                                                       COZEN O’CONNOR
                                                                                    11 601 S. Figueroa Street, Suite 3700
                                                                                       Los Angeles, CA 90017
                                                                                    12 Tel.: 213.892.7933; Fax: 213.892.7999
                  6601 S. FIGUEROA STREET, SUITE 3700




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COZEN O’ CONNOR

                                                        LOS ANGELES, CA 90017




                                                                                         Attorneys for Subrogation Plaintiffs
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                                                                                                                 UNITED STATES DISTRICT COURT
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                                                                                                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                    16
                                                                                    17 In re: KIA HYUNDAI VEHICLE                      Case No.: 8:22-ml-03052-JVS-KES
                                                                                       THEFT MARKETING, SALES,
                                                                                    18 PRACTICES, AND PRODUCTS                         The Honorable James V. Selna
                                                                                       LIABILITY LITIGATION
                                                                                    19                                                 NOTICE OF ADDITIONAL
                                                                                                                                       SUBROGATION PLAINTIFFS
                                                                                    20
                                                                                    21 This document relates to:
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                                                                                         ALL SUBROGATION CASES
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                                                                                         LEGAL\69531891\1                          1         Case No.: 8:22-ml-03052-JVS-KES
                                                                                                             NOTICE OF ADDITIONAL SUBROGATION PLAINTIFFS
                                                                                Case 8:22-ml-03052-JVS-KES Document 345 Filed 04/05/24 Page 2 of 2 Page ID #:11545



                                                                                     1           The Subrogation Plaintiff(s) identified herein are hereby incorporated into the
                                                                                     2 complaint filed in State Automobile Mutual Insurance Company, et al. v. Hyundai
                                                                                     3 Motor America, et al., Case Number 8:23-cv-00443-JVS (KESx) and ECF No. 1, and
                                                                                     4 the Subrogation Plaintiffs’ Amended Consolidated Complaint filed in In re: Kia
                                                                                     5 Hyundai Vehicle Theft Marketing, Sales Practices, And Products Liability Litigation,
                                                                                     6 Case No. 8:22-ML-3052-JVS(KESx) (C.D. Cal.), ECF No. 283.
                                                                                     7           1.         Plaintiff, SAFEWAY INSURANCE COMPANY OF ALABAMA, INC.,
                                                                                     8 is a corporation organized under the laws of Illinois, with a principal address of 790
                                                                                     9 Pasquinelli Drive, Westmont, IL 60559.
                                                                                    10           2.         Plaintiff, SAFEWAY INSURANCE COMPANY OF GEORGIA, is a
                                                                                    11 company organized under the laws of Georgia, with a principal address of 1165
                                                                                    12 Sanctuary Parkway, Suite #200, Alpharetta, GA 30009.
                  6601 S. FIGUEROA STREET, SUITE 3700




                                                                                    13           3.         Plaintiff, SAFEWAY INSURANCE COMPANY OF LOUISIANA, is a
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                                                        LOS ANGELES, CA 90017




                                                                                    14 company organized under the laws of the State of Louisiana, with a principal address
                                                                                    15 of 400 E. Kaliste Saloom Road, Suite 2300, Lafayette, LA 70508.
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                                                                                         Dated: April 5, 2024
                                                                                    18                                            Respectfully submitted,
                                                                                    19                                            COZEN O’CONNOR
                                                                                    20                                            By: /s/ Megan R. Peitzke
                                                                                                                                         Elliott R. Feldman
                                                                                    21                                                   Kevin Caraher
                                                                                                                                         Nathan Dooley
                                                                                    22                                                   Megan R. Peitzke
                                                                                                                                         Attorneys for Subrogation Plaintiffs
                                                                                    23                                                   In Case No. 8:23-cv-00443-JVS (KES)
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                                                                                                               NOTICE OF ADDITIONAL SUBROGATION PLAINTIFFS
